
32 Cal.App.2d 623 (1939)
THE PEOPLE, Respondent,
v.
JOHN L. McKIBBEN et al., Defendants; JOE W. YURGY, Appellant.
Crim. No. 3211. 
California Court of Appeals. Second Appellate District, Division Two.  
May 11, 1939.
 No appearance for Appellant.
 Earl Warren, Attorney-General, for Respondent.
 The Court.
 [1] This case comes before us on the motion of the attorney-general to dismiss the appeal under section 1253 of the Penal Code on the ground that no appearance has been made herein by the defendant. Due notice of the hearing on this date has been given. The motion is good.
 Appeal dismissed. *624
